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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 ASSOCIATION OF NEW JERSEY         )
 RIFLE & PISTOL CLUBS, INC., et    ) Civil Action No. 3:18-cv-10507-PGS-
 al.                               ) LHG
                                   )
                Plaintiffs,        )
                                   )
      v.
                                   )
 MATTHEW PLATKIN, et al.
                                   )
                                   )
                Defendants.
                                   )
 _________________________________
                                   )
                                   )
 MARK CHEESEMAN, et al.
                                   )
                Plaintiffs,        )
                                   ) Civil Action No. 3:22-cv-4360-PGS-
      v.                           ) LHG
 MATTHEW PLATKIN, et al.           )
                                   )
                Defendants.        )
 _________________________________ )
                                   )
 BLAKE ELLMAN, et al.              )
                                   )
                Plaintiffs,        )
      v.                           )
 MATTHEW PLATKIN, et al.           )
                                   ) Civil Action No. 1:22-cv-4397-PGS-
                Defendants.        ) LHG
                                   )
                                   )


          BRIEF OF ASSOCIATION OF NEW JERSEY RIFLE &
          PISTOL CLUBS, INC. (“ANJRPC”) AND ELLMAN
          PLAINTIFFS IN SUPPORT OF THEIR MOTION FOR
          SUMMARY JUDGMENT



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                                     INTRODUCTION

       Pursuant to Rule of Civil Procedure 56, ANJRPC Plaintiffs (18-cv-10507) and

 Ellman Plaintiffs (22-cv-4397) move for summary judgment of their claims and

 Defendants’ defenses in these consolidated matters. For the reasons set forth below,

 including the undisputed material facts and argument, the Court should grant judgment in

 favor of these Plaintiffs. This motion is supported by the accompanying memorandum,

 declarations filed in this matter, and all other matters properly before the Court.

       ANJRPC and Ellman Plaintiffs Raise Three Constitutional Challenges:

 •     ANJRPC Count I: New Jersey’s prohibitions on magazines with a capacity of more

       than 10 rounds violate the Second Amendment.

 •     ANJRPC Count II: New Jersey’s prohibitions on magazines with a capacity of more

       than 10 rounds violate the Takings Clause.

 •     Ellman Count I: New Jersey’s prohibitions on so-called “assault firearms” violates

       the Second Amendment.

 Plaintiffs are entitled to summary judgment on all three counts.

       There are many difficult constitutional questions surrounding the regulation of

 firearms. Whether New Jersey may ban firearms and magazines owned by millions of

 law-abiding Americans for lawful purposes is not one of them. The Supreme Court made

 crystal clear just this past Term that “the Second Amendment protects the possession and

 use of weapons that are ‘in common use.’” N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen,



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 142 S. Ct. 2111, 2128 (2022) (quoting Dist. of Columbia v. Heller, 554 U.S. 570, 627

 (2008)). The firearms New Jersey has banned are more common than the most popular

 vehicle in the United States, and the feeding devices it has banned are more than ten times

 more common than that.

       These are not newfangled innovations that demand novel government intervention.

 Semiautomatic rifles shotguns, and pistols have been around for generations, as have

 ammunition feeding devices that hold more than 10 rounds; and, as recently as just a few

 decades ago, it was common ground that these common arms are “lawful.” Staples v.

 United States, 511 U.S. 600, 612 (1994). Slapping the term “assault firearm” on firearms

 owned by millions of Americans does not take them outside of the Second Amendment’s

 protection. Nor does labeling standard-issue magazines “large capacity ammunition

 feeding devices” change the fact that tens of millions of Americans own hundreds of

 millions of them as integral components of arms that they keep and use for self-defense

 and other lawful purposes like target shooting and hunting. The arms that New Jersey

 has banned are not just in common use; they are ubiquitous. That puts New Jersey’s

 prohibitions profoundly out of step with our nation’s history of regulating firearms.

       The plain text is the starting point under Bruen, and Bruen made clear beyond cavil

 what the term “Arms” in the Second Amendment “covers”: all bearable “instruments that

 facilitate armed self defense.” 142 S. Ct. at 2132; see also Heller, 554 U.S. at 582 (“[T]he




                                              2
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 Second Amendment extends, prima facie, to all instruments that constitute bearable

 arms”).

       To be sure, the rule that all things that “constitute bearable arms” are presumptively

 protected, see Bruen, 142 S. Ct. at 2126, 2132, does not mean that the Second Amendment

 guarantees “a right to keep and carry any weapon whatsoever in any manner whatsoever

 and for whatever purpose,” Heller, 554 U.S. at 626. Some things that are presumptively

 protected under the broad textual definition of “arms” nevertheless may be prohibited

 consistent with the nation’s historical tradition. But Bruen also made clear beyond cavil

 what that historical tradition is: While the Second Amendment protects the keeping and

 bearing “of weapons that are … ‘in common use,’” it does not protect arms that “‘are

 highly unusual in society at large.’” 142 S. Ct. at 2143 (quoting Heller, 554 U.S. at 627).

 Whatever else may be said of the arms New Jersey has banned, there can be no serious

 dispute that they are “typically possessed by law-abiding citizens for lawful purposes.”

 Heller, 554 U.S. at 625. 1 Indeed, millions of law-abiding citizens possess the

 semiautomatic firearms New Jersey has banned in the tens of millions and the standard-

 issue magazines New Jersey has banned in the hundreds of millions.

       New Jersey cannot deny that the arms it has banned are ubiquitous in modern

 America. It instead simply ignores that dispositive fact in favor of a meandering inquiry



 1
   “Common use” is actually a misnomer. The Court was clear that it is possession for
 lawful purposes that matters regardless of how often, if ever, an arm is actually used.

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 into how dangerous those arms may be in the hands of someone bent on using them to

 commit a horrific crime. But courts cannot withhold constitutional protection based on

 the relative “dangerousness” of arms when used for unlawful purposes. The question

 under binding Supreme Court precedent is whether law-abiding citizens typically possess

 and use the arms at issue for law-abiding purposes. And when it comes to the exceedingly

 broad range of arms that New Jersey has banned, the answer is plainly yes.

       Under the unambiguous holdings of the Supreme Court, that is the end of the

 analysis. There is no need to conduct any further historical inquiry, because the Supreme

 Court has already determined what the “historical tradition” of our nation is when it

 comes to efforts to ban arms: The government may not ban arms that are “in common

 use today.” Bruen, 142 S. Ct. at 2143. When it comes to classes of arms (like the ones

 now banned in New Jersey) that law-abiding citizens have overwhelmingly chosen for

 lawful purposes, “American governments simply have not broadly prohibited the[ir]

 public carry,” let alone their private possession. Id. at 2156.

       In short, while there is a long historical tradition of law-abiding citizens possessing

 for lawful purposes the classes of arms that New Jersey now prohibits, there is no similar

 tradition of government regulation of these commonly owned arms— let alone of outright

 bans. New Jersey’s laws cannot be reconciled with Bruen (or reality).

       Nor does the Fifth Amendment permit New Jersey to compel its people to give up,

 disable, or permanently alter their personal property without any promise or avenue of



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 obtaining just compensation. The Takings Clause was designed to prevent precisely this

 kind of arbitrary expropriation of private property by heavy handed government officials.

 New Jersey’s citizens have lawfully acquired standard capacity magazines capable of

 holding more than 10 rounds of ammunition, and the State cannot suddenly and

 retroactively declare such property illegal.

       Plaintiffs are entitled to summary judgment declaring these prohibitions

 unconstitutional and enjoining their enforcement.


                                     BACKGROUND

                  New Jersey’s Ban on Standard-Capacity Magazines

       Since 1990, New Jersey has criminalized the possession of what it calls a “large

 capacity ammunition magazine,” which it defined to include “a box, drum, tube or other

 container which is capable of holding more than 15 rounds of ammunition to be fed

 continuously and directly therefrom into a semi-automatic firearm.” N.J.S. 2C:39-1(y),

 N.J.C. 2C:39-3(j). On June 7, 2018, the New Jersey legislature passed Assembly Bill No.

 2761 (hereinafter “Act A2761” or “Magazine Ban”) 2 , which (among other things)

 amended that definition to lower the threshold at which a magazine qualifies as “large

 capacity.” The Governor signed the Magazine Ban into law on June 13, 2018.



 2
  The full title of the act is an Act Concerning Firearms and Amending N.J.S. 2C:39-1,
 N.J.S. 2C:39-3, and N.J.S. 2C:39-12, and Supplementing Chapter 39 of Title 2C of the
 New Jersey Statutes.

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         And yet, “there simply is no such thing as a ‘large capacity magazine.’ It is a

 regulatory term created by the State, meaning no more than the maximum amount of

 ammunition the State has decided may be loaded into any firearm at one time.”

 Association of New Jersey Rifle and Pistol Clubs, Inc. v. Attorney General of New Jersey,

 No. 19- 3142, at *9 (3d Cir. Aug. 25, 2022) (Matey, J. dissenting from Order remanding

 case back to the district court) (Dkt. 147-1); ); Duncan v. Bonta, No. 17-cv-1017-BEN

 (JLB), 2023 WL 6180472, at *2 (S.D. Cal. Sept. 22, 2023) (noting that states have defined

 large capacity magazines from seven to seventeen rounds and concluding that the term is

 “arbitrary and capricious” because of the “different numerical limits”).

         New Jersey now defines as “large capacity,” and criminalizes the possession of,

 any magazine capable of holding more than 10 rounds of ammunition (with a narrow

 carve-out designed to accommodate a small class of tube-fed, low-powered .22-caliber

 semi-automatic firearms like the Marlin Model 60). Act A2761 §§1, 2, codified at N.J.S.

 2C:39-1(y), N.J.S. 2C:39-3(j).

         The same law altered the definition of “assault firearm” to include any semi-

 automatic rifle with a fixed magazine capacity exceeding 10 rounds, thereby generally

 criminalizing the possession of such firearms. Id. N.J.S. 2C:39-1(w)(4), N.J.S. 2C:39-

 5(f).

         While state law provides a narrow exception for certain firearms purchased before

 the bill’s effective date—namely for a theoretical class of firearms “incapable of being



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 modified to accommodate 10 or less rounds”—there is no general “grandfather clause”

 for firearms and magazines lawfully owned and possessed before the effective date,

 effectively turning an estimated one million New Jersey gun owners into criminals if they

 fail to follow the legislation’s new mandates.

       Instead, the law gave New Jersey residents lawfully in possession of a banned

 firearm or magazine prior to the effective date 180 days after the effective date to transfer

 their firearms or magazines, to render them inoperable, to permanently modify them to

 accept 10 rounds or less, or to voluntarily surrender them to Defendant Callahan or the

 chief of police of the municipality in which the owner resides. Act A2761 §7.

       The law does not provide for surrendered firearms or magazines to be put to any

 particular use, apparently allowing the police unfettered discretion to destroy the arms.

       Violating New Jersey’s “assault firearm” ban is a crime of the second degree,

 punishable by between five and ten years’ imprisonment and a fine of up to $150,000,

 with harsh minimum mandatory sentences with no judicial discretion. Id. N.J.S. 2C:39-

 5(b), N.J.S. 2C:43-3(a)(2), N.J.S. 2C:43-6(a)(2).

       Violating the “large capacity ammunition magazine” ban is a crime of the fourth

 degree, punishable by up to 18 months’ imprisonment and a fine of up to $10,000. Id.

 N.J.S. 2C:39-3(j), N.J.S. 2C:43-3(b)(2), N.J.S. 2C:43-6(a)(4).

               New Jersey’s Ban on Common Semi-Automatic Firearms

       Since 1990, New Jersey has criminalized the possession of certain common semi-



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 automatic firearms, which it defines by reference to a list of enumerated banned firearms

 as well as a list of prohibited features (the “Firearm Ban”).

       The Firearm Ban prohibits, effective May 1, 1990, a list of approximately 66

 common semi-automatic rifles and shotguns. Semi-automatic firearms fire only a single

 round with one pull of the trigger. The Firearm Ban further prohibits:

       Any firearm manufactured under any designation which is substantially
       identical to any of the firearms listed above.

       A semi-automatic shotgun with either a magazine capacity exceeding six
       rounds, a pistol grip, or a folding stock.

 N.J.S. 2C:39-1(w). These firearms are not “machine guns,” which are fully automatic

 and continue to fire until the trigger is released or the firearm runs out of ammunition.

       A firearm is “substantially identical,” and therefore also banned, if it meets the

 following definition set forth in August 19, 1996 Attorney General Guidelines3:

       A semi-automatic firearm should be considered to be "substantially identical,"
       that is, identical in all material respects, to a named assault weapon if it meets
       the below listed criteria:

       A. semi-automatic rifle that has the ability to accept a detachable magazine and

          has at least 2 of the following:

          1. a folding or telescoping stock;

          2. a pistol grip that protrudes conspicuously beneath the action of the weapon;



 3
   Those guidelines are available at https://www.state.nj.us/lps/dcj/agguide/assltf.htm or
 in PDF at https://www.state.nj.us/lps/dcj/agguide/3assltf.pdf.

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          3. a bayonet mount;

          4. a flash suppressor or threaded barrel designed to accommodate a flash

             suppressor; and

          5. a grenade launcher;

       B. a semi-automatic pistol that has an ability to accept a detachable magazine and

          has at least 2 of the following:

          1. an ammunition magazine that attaches to the pistol outside of the pistol grip;

          2. a threaded barrel capable of accepting a barrel extender, flash suppressor,

             forward handgrip, or silencer;

          3. a shroud that is attached to, or partially or completely encircles, the barrel

             and that permits the shooter to hold the firearm with the nontrigger hand

             without being burned;

          4. manufactured weight of 50 ounces or more when the pistol is unloaded; and

          5. a semi-automatic version of an automatic firearm; and,

       C. a semi-automatic shotgun that has at least 2 of the following:

          1. a folding or telescoping stock;

          2. a pistol grip that protrudes conspicuously beneath the action of the weapon;

          3. a fixed magazine capacity in excess of 5 rounds; and

          4. an ability to accept a detachable magazine.

       N.J.S. 2C:39-5(f) pejoratively and incorrectly labels these firearms as “assault



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 firearms” and makes it unlawful for any person to “knowingly have in his possession an

 assault firearm . . . except if the assault firearm is licensed pursuant to N.J.S. 2C:58-5 . .

 . . .”4 Indeed, the term is just as arbitrary as large capacity magazine is: “Prior to 1989,

 the term assault weapon did not exist in the lexicon of firearms. It is a political term,

 developed by anti-gun publicists to expand the category of assault rifles so as to allow an

 attack on as many additional firearms as possible on the basis of undefined evil

 appearance.” Stenberg v. Carhart, 530 U.S. 914, 1001 n.16 (2000) (Thomas, J.,

 dissenting) (citation and quotations omitted); Heller v. D.C. (“Heller II”), 670 F.3d 1244,

 1290 (D.C. Cir. 2011) (Kavanaugh J., dissenting) (calling DC’s law “haphazard” because

 there was no rational for why certain rifles made the list and others did not).5

       The license to possess common semi-automatic firearms under N.J.S. 2C:58-5(b)

 requires that an applicant demonstrate that he qualifies for a permit to carry a handgun


 4
   The statute also provides two exceptions not applicable here. A person could have
 registered a banned firearm that was acquired prior to May 1, 1990. N.J.S. 2C:39-5(f).
 The window to register such firearm closed one year from the effective date of the 1990
 ban, and such a registered firearm cannot be transferred or inherited. N.J.S. 2C:58-12. A
 person could also have rendered a banned firearm inoperative, N.J.S. 2C:39-5(f), which
 in light of the Second Amendment right to possess arms for self-defense makes this
 exception not relevant to this action.
 5
   The statute also provides two exceptions not applicable here. A person could have
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 ban, and such a registered firearm cannot be transferred or inherited. N.J.S. 2C:58-12. A
 person could also have rendered a banned firearm inoperative, N.J.S. 2C:39-5(f), which
 in light of the Second Amendment right to possess arms for self-defense makes this
 exception not relevant to this action.

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 pursuant to N.J.S. 2C:58-4 and that a judge of the Superior Court of New Jersey “finds

 that the public safety and welfare so require.” (Emphasis added.)

       Upon information and belief, either zero or close to zero such licenses have been

 issued by the Superior Court since 1990, and Plaintiffs are not aware of any such license

 ever having been issued. Notably, Plaintiffs asked this question in interrogatories, and

 Defendants did not provide an answer.

       The requirements for such a license “are so substantial that they create a de facto

 prohibition . . . . Any potential owner must qualify under two lengthy application

 procedures, and may be refused at any time the State determines such a license does not

 serve the public interest. This regulatory scheme vests unbridled discretion over the

 licensing process with the State.” Coalition of New Jersey Sportsmen v. Florio, 744 F.

 Supp. 602, 608 (D.N.J. 1990).

       Violating New Jersey’s ban on common semi-automatic firearms is a crime of the

 second degree, punishable by between five and ten years’ imprisonment and a fine of up

 to $150,000, with harsh minimum mandatory sentences with no judicial discretion. Id.

 N.J.S. 2C:39-5(f), N.J.S. 2C:43-3(a)(2), N.J.S. 2C:43-6.

       Between the Firearm Ban’s prohibition of the enumerated 66 long guns and

 “substantially identical” firearms, the Act effectively bans the acquisition of

 semiautomatic long guns that are commonly used for lawful purposes, including self-

 defense in the home. Although the Firearm Ban describes common semi-automatic

 firearms as “assault firearms,” this is a gross and misleading misnomer. Common semi-

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 automatic firearms are a normal feature of lawful firearms possession in the United

 States.

       Firearms such as these are spread throughout the country. Common semi-

 automatic firearms are legal under both federal law and the laws of at least 41 states.

       The ubiquity of common semi-automatic firearms among law-abiding Americans

 demonstrates that they are used for lawful purposes, such as self-defense, hunting,

 competition, and target shooting.

       In line with the widespread possession and use of common semi-automatic

 firearms, there is no longstanding or historical tradition of prohibiting such firearms.

 Firearm bans like this one were unknown in the United States before the twentieth

 century. Bans like New Jersey’s are a recent phenomenon in American history. New

 Jersey, for example, had never banned commonly possessed firearms before the

 enactment of the Act in 1990.

       The rifles and shotguns banned by the Firearm Ban have attributes that promote

 accuracy or otherwise promote their effective use. For example, under the Firearm Ban,

 a semi-automatic, centerfire rifle that simply has an ability to accept a detachable

 magazine is not an “assault firearm.” Nor is such a rifle with either a folding stock or a

 flash suppressor. Under the Act’s “two feature” test, however, this ordinary rifle becomes

 an “assault firearm” of the “substantially identical” variety by reason of having both of

 these features—features that promote efficient and effective use and transport of the

 firearm.

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       A “flash suppressor” reduces the visible flash of light produced by firing the rifle.

 This reduces the likelihood of momentarily blindness after firing at an assailant, and it

 may reduce an assailant’s ability to pinpoint his potential victim’s position when the

 potential victim fires a shot in low-light conditions. David B. Kopel, Rational Basis

 Analysis of “Assault Weapon” Prohibition, 20 J. Contemp. L. 381, 397 (1994).

       A “folding stock” allows a rifle to be stored and transported more compactly, while

 a “telescoping stock” merely allows the user to adjust the overall length of the firearm to

 better suit their body size, the reach of their arms, and the bulk of the clothes they are

 wearing—in exactly the same manner that an adjustable seat post on a bicycle helps fit

 the bicycle to the rider. Either aids in maneuvering around tight spaces in a home, aiding

 in self-defense. Id. at 398–99.

       Detachable magazines assist a home defender in reloading and remedying firearm

 stoppages and malfunctions which can severely impair the ability of a homeowner to

 deploy his firearm for self-defense.

       A protruding pistol grip better stabilizes a rifle or shotgun on the shoulder for

 improved accuracy and effectiveness in self-defense.

       These features combine to allow law-abiding, responsible citizens to easily store a

 rifle or shotgun in their homes and, if need be, use it effectively to defend themselves.

       None of the above features makes a firearm more powerful or dangerous; rather,

 they allow citizens who are under the extreme stress of having to deal with an armed

 assailant to defend themselves more effectively. Prohibiting firearms with features that

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 promote their efficient and effective use infringes on the core Second Amendment

 right because it meaningfully limits the ability of law-abiding, responsible citizens to

 defend themselves in their own homes.

       These firearms are commonly used for defensive purposes and are highly useful

 for self-defense. For example, semi-automatic rifles that are banned by the Firearm Ban

 allow individuals to accurately engage their assailants at distances further away than they

 would be able to with handguns, thus increasing the likelihood that the defender will

 survive an encounter.

       The Firearm Ban effectively bans the acquisition of common semi-automatic

 firearms by virtue of the enumerated list of 66 firearms and the expansive definition of

 “substantially identical” firearms. This is precisely the type of restriction found

 unconstitutional in Heller.

           The Magazine Ban and Firearm Ban Deprive Plaintiffs of Their
    Property and Prevent Them from Keeping or Acquiring Arms for Self-Defense

 Blake Ellman

       Plaintiff Blake Ellman is an adult citizen and resident of New Jersey. He is not a

 retired law enforcement officer, and he does not fall within any of the other exceptions

 enumerated in New Jersey’s ban on ammunition magazines capable of holding more than

 10 rounds of ammunition or New Jersey’s ban on common semi-automatic firearms.

       Plaintiff Ellman is a firearms instructor, range safety officer, armorer, and

 competitive shooter.


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       Prior to the effective date of Magazine Ban Plaintiff Ellman lawfully owned and

 kept in New Jersey ammunition magazines that qualified as “large capacity ammunition

 magazines” under the amended law because they were capable of holding more than 10

 but fewer than 16 rounds of ammunition. Mr. Ellman owned these magazines for lawful

 purposes, including self-defense in the home. But for the newly enacted ban, Plaintiff

 Ellman would have continued to own and keep these magazines in his New Jersey home.

 Instead, Mr. Ellman was forced to, in some instances, transfer non-compliant magazines

 and purchase new replacement magazines at considerable cost and in other instances,

 spend money to permanently modify other magazines thereby significantly impairing

 their value. Further, since the ban went into effect, Mr. Ellman has purchased several

 new pistols for which he was required to pay money to permanently modify the

 magazines down to 10 rounds prior to receiving them in New Jersey.

       If it were lawful, Plaintiff Ellman would also acquire new magazines capable of

 holding more than 10 rounds of ammunition. Because of New Jersey’s ban and the

 associated criminal penalties, he refrains from doing so.

       Plaintiff Ellman also wishes to own one or more of the common semi-automatic

 firearms New Jersey bans for lawful purposes, including self-defense in the home. In

 particular, Plaintiff Ellman would choose a banned rifle as an option for home defense

 because, as an experienced firearm owner and instructor, he believes that these common

 semi-automatic rifles are ideally suited to his home defense needs. But for the ban,



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 Plaintiff Ellman would acquire and keep one or more banned rifles in his New Jersey

 home. Because of New Jersey’s ban and the associated criminal penalties, he refrains

 from doing so.

       Plaintiff Ellman would apply for a license to possess common semi-automatic

 firearms, but he knows that such an attempt would be futile and he would be denied.

 Marc Weinberg

       Plaintiff Marc Weinberg is an adult citizen and resident of New Jersey. He is not a

 retired law enforcement officer, and he does not fall within any of the other exceptions

 enumerated in New Jersey’s ban on ammunition magazines capable of holding more than

 10 rounds of ammunition.

       Plaintiff Marc Weinberg lawfully owned and kept in New Jersey ammunition

 magazines that qualified as “large capacity ammunition magazines” under the amended

 law because they were capable of holding more than 10 but fewer than 16 rounds of

 ammunition. Mr. Weinberg owned these magazines for lawful purposes, including self-

 defense in the home. But for the newly enacted ban, Plaintiff Weinberg would have

 continued to own and keep these magazines in his New Jersey home. Instead, Mr.

 Weinberg was forced to sell these magazines at a substantial loss. Further, since the ban

 went into effect, Mr. Weinberg has purchased two new pistols for which he was required

 to pay money to permanently modify the magazines down to 10 rounds prior to receiving

 them in New Jersey.



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       If permitted to do so, Plaintiff Weinberg would also acquire new magazines

 capable of holding more than 10 rounds of ammunition. Because of New Jersey’s ban

 and the associated criminal penalties, he refrains from doing so.

 Thomas Rogers

       Plaintiff Thomas Rogers is an adult citizen and resident of New Jersey. He does

 not fall within any of the exceptions enumerated in New Jersey’s ban on common semi-

 automatic firearms. Plaintiff Rogers is a long time, experienced firearms owner, having

 owned and responsibly used firearms for more than 40 years.

       Plaintiff Rogers wishes to own common semi-automatic firearms for lawful

 purposes, including self-defense in the home. In particular, Plaintiff Rogers would choose

 a common semi-automatic shotgun as an option for home defense because, as an

 experienced firearm owner, he believes that a common semi-automatic shotgun is ideally

 suited to his home defense needs. But for the ban, Plaintiff Rogers would acquire and

 keep one or more common semi-automatic firearms in his New Jersey home. Because of

 New Jersey’s ban and the associated criminal penalties, he refrains from doing so.

       Plaintiff Rogers would apply for a license to possess common semi-automatic

 firearms, but he knows that such an attempt would be futile and he would be denied.

 Association of New Jersey Rifle & Pistol Clubs

       Plaintiff ANJRPC has many members, including Plaintiffs Ellman and Weinberg,

 who owned and kept in New Jersey ammunition magazines that qualified as “large



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 capacity” or firearms that qualified as “assault firearms” due to their magazine capacity

 under the revised definitions of those terms enacted by Act A2761. But for the law,

 ANJRPC members would have continued to possess these magazines and firearms in

 New Jersey for lawful purposes, including self-defense in the home.

       Plaintiff ANJRPC also has numerous members who wish to acquire—and but for

 the newly enacted law would acquire—for purposes of self-defense or other lawful

 purposes a magazine that qualifies as a “large capacity ammunition magazine” or a

 firearm that qualifies as an “assault firearm” due to its magazine capacity under the

 revised definitions of those terms enacted by Act A2761.

       Plaintiff ANJRPC has members, including Plaintiffs Ellman and Rogers, who wish

 to acquire—and but for the ban would acquire— common semi-automatic firearms for

 purposes of self-defense in the home or other lawful purposes. Such members would

 apply for a license to possess common semi-automatic firearms, but they know that such

 an attempt would be futile and they would be denied.

       Additional facts as to which Plaintiffs contend there is no material dispute are set

 forth in the accompanying Statement of Undisputed Material Facts.




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                                       ARGUMENT

 I.    The Firearms And Magazines That New Jersey Has Banned Are “Arms.”

       While the framework for addressing flat bans on a class of arms may not have been

 pellucid when this Court decided Association of New Jersey Rifle & Pistol Clubs v.

 Grewal, 2018 WL 4688345 (D.N.J. 2018) (ANJRPC I), which applied intermediate

 scrutiny to New Jersey’s ban on magazines in excess of 10 rounds, there is no longer any

 room for debate. The Supreme Court made clear just last year that “when the Second

 Amendment’s plain text covers an individual’s conduct, the Constitution presumptively

 protects that conduct.” Bruen, 142 S. Ct. at 2126. After Bruen, then, the first question a

 court must ask in a case implicating the right to keep and bear arms is whether “the Second

 Amendment’s plain text covers [the] conduct” the challenged law restricts. Id.; Range v.

 Atty. Gen. U.S. of Am., 69 F.4th 96, 101 (3d Cir. 2023).

       Here, the answer to that question is easy. The Second Amendment guarantees “the

 right of the people to keep and bear Arms.” U.S. Const. amend. II. As Bruen squarely

 held, “the Second Amendment extends, prima facie, to all instruments that constitute

 bearable arms, even those that were not in existence at the time of the founding.” Bruen,

 142 S. Ct. at 2132 (quoting Heller, 554 U.S. at 582). New Jersey has prohibited “the

 people” whose rights the Second Amendment protects from keeping and bearing wide

 swathes of rifles, pistols, and shotguns. Rifles, pistols, and shotguns plainly “constitute

 bearable arms,” no matter what kind of grip, stock, ammunition feeding device, or other



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 features they may have. The right to keep and bear the firearms New Jersey has banned

 is thus “presumptively protect[ed]” by the Constitution. Id. at 2126.

       To be sure, the Second Amendment does not guarantee “a right to keep and carry

 any weapon whatsoever in any manner whatsoever and for whatever purpose.” Heller,

 554 U.S. at 626. But that is because “historical tradition” reflects that some things that

 “constitute bearable arms”—i.e., weapons that “are highly unusual in society at large”—

 nevertheless can be prohibited. See Bruen, 142 S. Ct. at 2143. That does not make those

 things any less “arms” under “the Second Amendment’s definition,” which covers all

 “instruments that facilitate armed self defense.” Id. at 2132. The threshold inquiry thus

 begins and ends with the indisputable fact that the various firearms New Jersey has

 prohibited “constitute bearable arms,” and hence are “presumptively protect[ed].” Id. at

 2126, 2132.

       That is no less true of the ammunition feeding devices New Jersey has banned.

 Indeed, the Third Circuit has already recognized that “[b]ecause ammunition magazines

 feed ammunition into certain guns, and ammunition is necessary for such a gun to

 function as intended, magazines are ‘arms’ within the meaning of the Second

 Amendment.” Ass’n of New Jersey Rifle & Pistol Clubs, Inc. v. Att’y Gen. New Jersey,

 910 F.3d 106, 116 (3d Cir. 2018) (“ANJRPC I”) ”); Duncan, 2023 WL 6180472, at *8.

 And rightly so, as it is not the firearm alone, but with ammunition fed by the magazine,

 that “facilitate[s] armed self-defense.” See Bruen, 142 S. Ct. at 2132. Feeding devices



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 are not just holders of ammunition; they are an integral part of the mechanism that makes

 semiautomatic firearms work: When a user pulls the trigger, the round in the chamber

 fires, and the semiautomatic action combines with the magazine to feed a new round into

 the firing chamber. Without a device to feed ammunition to the firing chamber, modern

 semiautomatic firearms are little more than overengineered clubs. Citizens thus carry

 firearms equipped with magazines for the same reason they carry firearms loaded with

 ammunition: “[W]ithout bullets, the right to bear arms would be meaningless.” Jackson

 v. City & Cnty. of S.F., 746 F.3d 953, 967 (9th Cir. 2014). That magazines and other

 ammunition feeding devices are integral to the functionality of the firearms citizens carry

 suffices to make them “presumptively protect[ed]” by the Constitution. Bruen, 142 S. Ct.

 at 2126.

 II.   The Arms That New Jersey Has Banned Are Typically Possessed By Law
       Abiding Citizens For Lawful Purposes, Including Self-Defense.

       Because the firearms and feeding devices New Jersey has banned easily fit within

 “the Second Amendment’s definition of ‘arms,’” the state bears the burden of proving

 that they nonetheless can be banned “consistent with this Nation’s historical tradition of

 firearm regulation.” Bruen, 142 S. Ct. at 2126, 2132. The state cannot meet that burden.

 The Supreme Court has already decided what “arms” may be banned consistent with

 “historical tradition”: those that are not “’in common use today,’” i.e. today “as opposed

 to those that ‘are highly unusual in society at large.’” Id. at 2143 (quoting Heller, 554

 U.S. at 627) (emphasis added).       That is the irreducible minimum of the Second


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 Amendment: The government may not “prohibit[] … an entire class of ‘arms’ that is

 overwhelmingly chosen by American society for [a] lawful purpose.” Heller, 554 U.S.

 at 628. In the context of a flat ban, then, the only question after Bruen is whether the

 arms that have been banned are “typically possessed by law-abiding citizens for lawful

 purposes.” Id. at 625. If they are, then the state may not ban them, full stop.

       Once again, the answer is easy. The arms that New Jersey bans are the furthest

 thing from “highly unusual.”      For starters, in connection with ANJRPC Plaintiffs’

 preliminary injunction application, this court recognized that the banned magazines are

 “in common use” and therefore “entitled to Second Amendment protection” ANJRPC I,

 2018 WL 4688345 at *10.

       Further, New Jersey bans many AR-platform rifles by name and/or by feature. But

 the Supreme Court itself has described “AR-15 rifle[s]” as “widely accepted as lawful

 possessions.” Staples, 511 U.S. at 603, 612. That should come as no surprise: Millions

 of Americans collectively own more than 24 million of these rifles. William English,

 PhD, 2021 National Firearms Survey: Updated Analysis Including Types of Firearms

 Owned 2 (May 13, 2022), https://bit.ly/3HaqmKv; NSSF, Commonly Owned: NSSF

 Announces Over 24 Million MSRs in Circulation (July 20, 2022), https://bit.ly/3zKDFh4.

 That exceeds the number of Ford F-150s, America’s most popular automobile, in the

 country. See Brett Foote, There Are Currently 16.1 Million Ford F-Series Pickups on

 U.S. Roads, Ford Auth. (Apr. 9, 2021), https://bit.ly/3GLUtaB. And “the numbers have



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 been steadily increasing.” Miller v. Bonta, 542 F.Supp.3d 1009, 1020, 1022 (S.D. Cal.

 2021), vacated and remanded, 2022 WL 3095986 (9th Cir. Aug. 1, 2022). “In 2018

 alone[,] … 1,954,000 modern rifles were manufactured or imported into the United

 States.” Id. at 1022. Again, that figure far exceeded the number of Ford F-series trucks

 sold in the same year.     See Fourth-Quarter 2020 Sales at 2, Ford (Dec. 2020),

 https://ford.to/3H87Y5T (787,442 F-series trucks were sold in the U.S. in 2020). To state

 the obvious, a product lawfully owned and lawfully used by millions of Americans—and

 20% of all gun owners, see Wash. Post Staff, Sept. 30-Oct. 11, 2022, Washington Post-

 Ipsos poll of AR-15 owners, https://wapo.st/3KrUouy (Mar. 26, 2023)—is not “highly

 unusual in society at large.” See Caetano v. Massachusetts, 577 U.S. 411, 420 (2016)

 (Alito, J., concurring in the judgment) (deeming stun guns, which “approximately

 200,000 civilians” own, sufficiently “widely owned and accepted” to come within the

 Second Amendment’s protection).

 And New Jersey does not stop with AR-platform rifles. It goes on to prohibit not only

 many semiautomatic but also several commonly owned semiautomatic pistols and

 shotguns. To call these additional commonly owned firearms “highly unusual in society

 at large,” see Bruen, 142 S. Ct. at 2143, is to deny reality. See, e.g., Ben Johnson, ATF

 announces pistol brace ban affecting millions of gun owners, Salem News Online (Jan.

 31, 2023), bit.ly/42gPhEN (explaining that ownership of “pistol braces,” which are most

 commonly used for the types of pistols HB 450 bans, is estimated to be around 10 to 40



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 million); 86 Fed. Reg. 30,826, 30,845-46 (2021) (ATF estimate that 3 to 7 million

 stabilizing braces, designed for and commonly used with AR-style pistols of the sort the

 statute bans, were sold between 2013 and 2020); Phil Bourjaily, The Best Duck Hunting

 Shotguns of 2023, Field & Stream (Mar. 20, 2023), https://bit.ly/42nqTBX (listing

 multiple types of shotguns the statute bans).

       Importantly, because the Firearm Ban is essentially a feature based prohibition, the

 correct way to understand commonality is not merely by model or platform but also by

 the commonality of features. Otherwise, New Jersey could simply ban any brand new

 firearm merely because no one owns it yet. That approach would be nonsensical, and it

 would be inconsistent with how the statute actually works. The whole point of the law is

 that New Jersey believes certain features in certain combination are harmful to public

 safety. It would be odd indeed not to test the constitutionality of the law using the same

 rubric. See also Declaration of Emanuel Kapelsohn at 22-36 (discussing at length the

 various prohibited features, their nature, their lawful use and function, and their

 widespread commonality).

       Further, New Jersey’s emphasis on the unquestionably terrible crimes that a small

 number of criminals have committed misusing a small number of firearms the state now

 labels “assault firearms” has nothing to do with the relevant legal questions—i.e., who

 the typical owners of such arms are and how they typically use them. On those questions,

 the record is undisputed and indisputable: Purchasers consistently report that self-



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 defense, hunting, and sport shooting are the most important reasons why they buy

 semiautomatic pistols and shotguns, not to mention rifles on the AR-15 platform. See

 English, 2021 National Firearms Report, supra, at 33-34. This should come as no

 surprise; the types of arms New Jersey now bans “can be beneficial for self-defense

 because they are lighter than many rifles and less dangerous per shot than larger-caliber

 pistols or revolvers.” Friedman v. City of Highland Park, 784 F.3d 406, 411 (7th Cir.

 2015).

       To say that is, again, not to deny that some people misuse these rifles for unlawful

 purposes. But that was equally true—indeed, arguably more so—in Heller. See, e.g.,.

 Heller II, 670 F.3d at 1286 (Kavanaugh, J., dissenting) (noting that “[t]here is no basis

 in Heller for drawing a constitutional distinction between semi-automatic handguns and

 semi-automatic rifles,” and that handguns are used in crimes much more than rifles are).

 The Heller dissenters protested that handguns “are specially linked to urban gun deaths

 and injuries” and “are the overwhelmingly favorite weapon of armed criminals.” 554

 U.S. at 682 (Breyer, J., dissenting). The majority did not dispute that. It just found it

 irrelevant to whether they are constitutionally protected, as that question does not turn on

 whether arms are misused by criminals. It turns on whether law-abiding citizens own and

 use them for lawful purposes. So it was enough that handguns—the overwhelming

 majority of which today are semiautomatic—are typically possessed for lawful purposes.

 See id. at 624-25 (majority op.). What was true in Heller is no less true here given the



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 millions of Americans who own the arms New Jersey bans. Just as in Heller, then, the

 flat ban here is flatly unconstitutional.

       The same goes for the magazines New Jersey bans. According to the most recent

 National Firearms Survey, approximately 39 million Americans—more than 10% of the

 nation’s total population and more than 15% of all American adults—have owned feeding

 devices that hold more than ten rounds. English, 2021 National Firearms Survey, supra,

 at 22; see NSSF, Firearm Production in the United States 7 (2020), https://bit.ly/3jfDUMt

 (300+ million magazines sold from 1990 to 2018, 52% of which had a capacity larger

 than ten rounds). Christopher S. Koper et al., An Updated Assessment of the Federal

 Assault Weapons Ban: Impacts on Markets & Gun Violence, 1994-2003, Rep. to the Nat’l

 Inst. of Justice, U.S. Dep’t of Justice 6557 (2004), available at https://bit.ly/3wUdGRE.

       And the numbers are trending upward: Recent data indicates that 75% of modern

 rifle magazines have a standard capacity of more than ten rounds. NSSF, Modern

 Sporting Rifle Comprehensive Consumer Report (July 14, 2022), https://bit.ly/3GLmErS.

 There are “over one hundred million.” Duncan, 2023 WL 6180472, at *2.

       Simply put, while “[t]here may well be some capacity above which magazines are

 not in common use[,] … that capacity surely is not ten.” Heller II, 670 F.3d at 1261.

       Court after court has acknowledged the ubiquity of these products in modern

 America. See, e.g., Duncan v. Bonta, 970 F.3d 1133, 1142 (9th Cir. 2020) (“One estimate

 based in part on government data shows that from 1990 to 2015, civilians possessed about



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 115 million LCMs out of a total of 230 million magazines in circulation.”); Kolbe v.

 Hogan, 849 F.3d 114, 129 (4th Cir. 2017) (en banc) (“46% of all magazines owned”);

 N.Y. State Rifle & Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242, 255 (2d Cir. 2015) (“[A]bout

 25 million large-capacity magazines were available in 1995” and another “nearly 50

 million such magazines … were approved for import by 2000[.]”).

       The accompanying Declaration of Emanuel Kapelsohn not only illustrates the

 ubiquity of semi-automatic rifles, such as AR and AK platform rifles, but also

 demonstrates the integral role that millions of magazines holding more than 10 rounds

 play in millions of semi-automatic rifles and handguns nationwide. Kapelsohn Dec., para.

 29-38. Moreover, Kapelsohn details the multiple lawful uses, including self-defense, to

 which such arms and magazines are regularly put by law-abiding individuals. Id at para.

 36-47.

       But the situation is even worse for New Jersey given that the so-called “assault

 firearm” law is largely feature based. Even though the law bans a series of enumerated

 arms, the ban further sweeps in large numbers of protected arms through its feature based

 test (e.g. folding stock, flash suppressor, etc.).

       The Kapelsohn Declaration details how the banned features are widely useful for

 law abiding individuals for lawful purposes, not merely on the statutorily enumerated

 firearms platforms, but generally. Id. at para. 48-72. In this regard, the commonality test

 from Heller and Bruen is doubly devastating for a feature based law such as New Jersey’s.



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 III.   There Is No Historical Tradition In This Country Of Banning the Kinds of
        Arms That New Jersey Has Banned.

        The Court can and should end its analysis there. “[T]he traditions of the American

 people … demand[] our unqualified deference,” Bruen, 142 S. Ct. at 2131, and the

 tradition of the American people is that law-abiding citizens may keep and bear arms that

 are commonly possessed for lawful purposes like self-defense. In the context of a flat

 ban on the acquisition or even possession of classes of arms, that is the historical test—

 i.e., the key inquiry under Bruen—and it forecloses the state’s effort to ban these

 commonly possessed arms. After all, a state may not prohibit what the Constitution

 protects.

        Nevertheless, even if further historical inquiry were necessary, New Jersey cannot

 come close to meeting its burden of demonstrating any historical tradition of prohibiting

 firearms capable of firing more than ten rounds without reloading. Indeed, the very fact

 that millions of Americans have chosen these arms in the tens of hundreds of millions

 confirms that there is not, and never has been, any tradition of banning them. To the

 contrary, the historical record reveals a long tradition of welcoming technological

 advancements aimed at improving the speed, firing capacity, accuracy, and functionality

 of firearms kept and born by civilians. See, generally, Declaration of Ashley Hlebinsky.

        This is consistent with exactly what Heller and Bruen held: The only types of arms

 that states and municipalities have historically restricted in this country are those


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 sparingly chosen by law-abiding citizens for lawful purposes but overwhelmingly chosen

 by criminals for illicit ends—in other words, weapons that were both dangerous and

 unusual.

       To be sure, there are historical laws that prohibited the carrying of arms that fit that

 description. But the Supreme Court has already determined the import of the fact “that

 colonial legislatures sometimes prohibited the carrying of ‘dangerous and unusual

 weapons’”: “[E]ven if these colonial laws prohibited the carrying of [certain class of

 arms] because they were considered ‘dangerous and unusual weapons’ in the 1690s, they

 provide no justification for laws restricting the public carry of weapons that are

 unquestionably in common use today.” Id. at 2143 (quoting Heller, 554 U.S. at 627).

 And “[a]part from a few late-19th century outlier jurisdictions, American governments

 simply have not broadly prohibited the public carry of commonly used firearms for

 personal defense.” Id. at 2156. They instead confined themselves to prohibiting only

 those arms that are “not typically possessed by law-abiding citizens for lawful purposes.”

 Heller, 554 U.S. at 625 (emphasis added).

       Consistent with that long-standing practice, there simply is no historical tradition

 of banning the kinds semiautomatic rifles, pistol, shotguns or feeding devices that New

 Jersey has banned. Indeed, even today, New Jersey’s extreme approach is an outlier; the

 vast majority of states continue to respect the rights of their citizens to keep and bear

 ubiquitous semiautomatic firearms and standard-capacity feeding devices.



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       The lack of any tradition supporting the state’s ban is certainly not owing to any

 “dramatic technological changes.” Bruen, 142 S. Ct. at 2132. Firearms capable of firing

 more than ten rounds without reloading are not modern innovations, and neither are

 ammunition feeding devices up to that task. “[T]he first firearm that could fire more than

 ten rounds without reloading was invented around 1580.” Duncan, 970 F.3d at 1147.

 Several such arms pre-dated the Revolution, some by nearly a hundred years. For

 example, the popular Pepperbox-style pistol could “shoot 18 or 24 shots before reloading

 individual cylinders,” and the Girandoni air rifle, which “had a 22-round capacity,” “was

 famously carried on the Lewis and Clark expedition.” Id. As for “cartridge-fed”

 “repeating” firearms in particular— arguably the most direct forebears of the firearms

 New Jersey has now outlawed—they came onto the scene “at the earliest in 1855 with

 the Volcanic Arms lever-action rifle that contained a 30-round tubular magazine, and at

 the latest in 1867, when Winchester created its Model 66, … a full-size lever-action rifle

 capable of carrying 17 rounds” that “could fire 18 rounds in half as many seconds.” Id.

 at 1148; see Louis A. Garavaglia & Charles G. Woman, Firearms of the American West

 1866-1894, at 128 (1984). These multi-shot firearms were not novelties; they were

 ubiquitous among civilians by the end of the Civil War. “[O]ver 170,000” Winchester

 66’s “were sold domestically,” Duncan, 970 F.3d at 1148; the successors that replaced

 the Model 66, the Model 73 and Model 92, sold more than ten times that amount in the

 ensuing decades, id.; and Winchesters were far from unique in this regard, see Harold F.



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 Williamson, Winchester: The Gun That Won The West 283 (1952) (Henry lever action

 rifle could fire 16 rounds without reloading); Norm Flayderman, Flayderman’s Guide to

 Antique American Firearms and Their Values 305 (9th ed. 2007) (14,000 Henry rifles

 were sold between 1860 and 1866).

       Semiautomatic firearms with the features New Jersey has singled out are no

 novelty either. They were nineteenth-century inventions, see Johnson, Firearms Law and

 the Second Amendment at 463, 519, and by the 1890s Luger was retailing a semi-

 automatic pistol with a detachable box-style magazine. See Duncan, 970 F.3d at 1148.

 Technology that old cannot be deemed a “dramatic technological change” in 2023.

       While arms that could fire more than ten rounds without reloading would by no

 means have been “unforeseen inventions to the Founders,” Duncan, 970 F.3d at 1147,

 laws prohibiting their possession most certainly would.        “At the time the Second

 Amendment was adopted, there were no laws restricting ammunition capacity.” Kopel,

 supra, 78 Alb. L. Rev. at 864. Indeed, at the founding, militia laws required “each citizen

 … to arm himself with enough ammunition: at least 20 rounds.” Duncan, 2023 WL

 6180472, at *34 (emphasis in original) (collecting authorities). That did not change

 anytime soon:     The very small number of laws regulating the firing capacity of

 semiautomatic firearms did not come around for another hundred-plus years, and, as

 discussed, none of those laws endured. And not a single state restricted the manufacture,




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 sale, or possession of ammunition feeding devices until the 1990s. 6 So too with

 semiautomatic firearms. The first so-called “assault weapon” ban did not come about

 until 1989.

       As for the federal government, it did not restrict semiautomatic arms,

 semiautomatic firing capacity, or magazine capacity until 1994, when Congress adopted

 a nationwide ban on certain semiautomatic firearms and ammunition feeding devices with

 a capacity of more than ten rounds. See Pub. L. No. 103-322, 108 Stat. 1796 (1994)

 (formerly codified at 18 U.S.C. §922(w)). And Congress allowed that law to expire in

 2004 after a Justice Department study revealed that it had produced “no discernable

 reduction” in violence committed with firearms. Christopher S. Koper et al., An Updated

 Assessment of the Federal Assault Weapons Ban: Impacts on Gun Markets & Gun

 Violence, 1994-2003, Rep. to the Nat’l Inst. of Justice, U.S. Dep’t of Justice 96 (2004),

 available at https://bit.ly/3wUdGRE.


       6
         One such law existed before the 1990s in the District of Columbia, but it was even
 more of an outlier than the handful of state laws just mentioned. In 1932, Congress passed
 a local D.C. law prohibiting the possession of firearms that “shoot[] automatically or
 semiautomatically more than twelve shots without reloading.” Act of July 8, 1932, Pub.
 L. No. 72-275, §§1, 14, 47 Stat. 650, 650, 652 (1932), repealed by 48 Stat. 1236 (1934),
 currently codified as amended at 26 U.S.C. §§5801-72. This law was not understood to
 sweep up magazines or other ammunition feeding devices as an original matter. Indeed,
 when Congress enacted the National Firearms Act imposing stringent regulations on
 machine guns just two years later, it chose not to impose any restrictions on magazines.
 Pub. L. No. 73-474, 48 Stat. 1236 (1934). Nevertheless, after the District achieved home
 rule in 1975, the new D.C. government interpreted the 1932 law “so that it outlawed all
 detachable magazines and all semiautomatic handguns.” Kopel, supra, 78 Alb. L. Rev.
 at 866.

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       To be sure, modern firearms and magazines like the ones New Jersey has banned

 are more accurate and capable of quickly firing more rounds than their founding-era

 predecessors. But that does not make them any less linear descendants of the “small arms

 weapons used by militiamen … in defense of person and home” when the Second

 Amendment was ratified. Heller, 554 U.S. at 624-25; see also Caetano, 577 U.S. at 416-

 17 (Alito, J., concurring in the judgment). After all, it would be particularly perverse to

 confine the people to arms that are less accurate, efficient, and reliable for self-defense—

 which likely explains why no such historical tradition exists. See Bruen, 142 S. Ct. at

 2156. Moreover, much of what New Jersey tries to claim about why the firearms it now

 bans and the magazines it now deems too “large” are supposedly different from arms long

 in common use could be said equally of the handguns Heller held protected. That is

 precisely why our historical tradition focuses not on which arms are capable of doing the

 most damage in the hands of the small number of people bent on misusing them, but on

 which arms law-abiding citizens commonly conclude best serve their needs. And far

 from treating technological advancements aimed at improving the accuracy, firing

 capacity, and functionality of firearms as nefarious developments that made firearms “too

 dangerous,” history establishes time after time that those are precisely the kinds of things

 people have consistently looked for when determining how best to protect self, others,

 and home.




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       The Declaration of Ashley Hlebinsky outlines 600 years of firearms development

 that illustrates this exactly. Every innovation over the centuries has been geared toward

 shooting straighter, further, and faster.

       Moreover, these technological changes were plainly known to the founding

 generation. For example, during the American Revolution, the colonists were keenly

 aware of the technological differences between the smooth bore Brown Bess musket and

 the far more advanced long rifle with a rifled barrel. Id. at para 17, 26, 38, 40, 42,

       To the extent New Jersey seeks to excuse the relative novelty of its ban as owing

 to some “unprecedented societal concern[],” Bruen, 142 S. Ct. at 2132, that argument

 fails too. Even accepting the dubious proposition that there is some causal link between

 the arms New Jersey has banned and the horrific acts of crime on which it focuses, the

 unfortunate reality is that mass murder has been a fact of life in the United States for a

 very long time. Nevertheless, before “the 1990’s, there was no national history of banning

 weapons because they were equipped with furniture like pistol grips, collapsible stocks,

 flash hiders, … or barrel shrouds,” Miller, 542 F.Supp.3d at 1024, and there were almost

 no efforts to restrict the firing capacity of semiautomatic arms. This was not because

 such firearms were adopted only by militaries: The types of semiautomatic firearms and

 features New Jersey ban were popular with civilians long before they gained traction

 militarily. See Nicholas J. Johnson, et al., Firearms Law and the Second Amendment 463,

 519 (2d ed. 2018).



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       Nor, more importantly, has there ever been any historical tradition of banning arms

 that law-abiding citizens typically keep and use for lawful purposes based on the damage

 they could inflict in the hands of someone bent on misusing them. To the contrary, our

 historical tradition is one of protecting the rights of law-abiding citizens to defend

 themselves and others against those who seek to do them harm.

       See Bruen, 142 S. Ct. at 2132; Heller, 554 U.S. at 627. Because New Jersey’s

 prohibitions fly in the face of that historical tradition, they violate the Second

 Amendment.

 IV.   The Magazine Ban is an Unconstitutional Taking.

       The Takings Clause of the Fifth Amendment, as incorporated against the States by

 the Fourteenth Amendment, provides that “private property [shall not] be taken for public

 use, without just compensation.” U.S. Const. amend V; U.S. Const. amend XIV. “While

 it confirms the State’s authority to confiscate private property, the text of the Fifth

 Amendment imposes a condition on the exercise of such authority: ‘just compensation’

 must be paid to the owner.” Brown v. Legal Found. of Washington, 538 U.S. 216, 231–

 32 (2003); see also In re Trustees of Conneaut Park, Inc., 855 F.3d 519, 525 (3d Cir.

 2017). Because Act A2761 effects a taking of Plaintiffs’ property without providing for

 just compensation for that property, it works an unconstitutional taking.

       Act A2761 takes Plaintiffs’ property because it dispossesses them of their lawfully

 acquired magazines. To begin, because they are personal property, the magazines covered



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 by the ban are “property” within the meaning of the Takings Clause. Horne v. Department

 of Agric., 135 S. Ct. 2419, 2425–26 (2015).

         Property can be “taken” within the meaning of the Fifth Amendment in one of two

 ways:    A    “physical   taking”   occurs   when   the   government    appropriates   or

 otherwise physically dispossesses the owner of property. Lingle v. Chevron USA, Inc.,

 544 U.S. 528, 537 (2005). A “regulatory taking” occurs when the government regulates

 the use of that property in a manner that “is tantamount to a direct appropriation or

 ouster.” Id.; see also Horne, 135 S. Ct. at 2427; In re Trustees of Conneaut Lake Park,

 855 F.3d at 525.

         Physical takings can assume a variety of forms, from a “direct appropriation” to

 “the functional equivalent of a practical ouster of the owner’s possession.” Lingle, 544

 U.S. at 537 (quotation marks and alteration omitted) (quoting Lucas v. South Carolina

 Coastal Council, 505 U.S. 1003, 1014 (1992)). But the sine qua non of a physical taking

 is dispossession. See Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg’l Planning Agency,

 535 U.S. 302, 324 n.19 (2002) (physical takings, unlike regulatory takings, “dispossess

 the owner”). For even where a property right is “only destroyed and ended, a destruction

 for public purposes may as well be a taking as would be an appropriation for the same

 end.” United States v. Welch, 217 U.S. 333, 339 (1910).

         New Jersey’s ban on the possession of lawfully-acquired property effects a

 physical taking of that property. Apart from a narrow exemption for a theoretical class of

 firearms that cannot be altered to accept fewer than eleven rounds, the law criminalizes

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 the continued possession (after 180 days) of standard-capacity magazines that individuals

 lawfully acquired before the law’s effective date. And while New Jersey’s statute may

 provide owners a menu of options as to how they can be dispossessed of their arms, none

 allows what is necessarily to avoid a taking—namely, the ability to continue to possess

 one’s lawfully-acquired property. For starters the option of surrendering these arms to the

 government, Act A2761 § 5(c), is a “direct government appropriation . . . of private

 property” which is “a paradigmatic taking requiring just compensation.” Lingle, 544 U.S.

 at 537; see also Horne, 135 S. Ct. at 2428.

       To avoid this appropriation, owners of banned arms may transfer their firearm or

 magazine to “any person or firm lawfully entitled to own or possess that firearm or

 magazine.” Act A2761 § 5(a). But transferring property to someone else effects “a

 practical ouster of the owner’s possession,” which also constitutes a per se taking. That

 is so regardless of whether the transfer is to someone other than the government. The

 Supreme Court has repeatedly recognized that a per se taking occurs when the

 government mandates a transfer of property from one private party to another. See, e.g.,

 Kelo v. City of New London, 545 U.S. 469, 475 (2005); Loretto v. Teleprompter

 Manhattan CATV Corp., 458 U.S. 419, 432 n.9 (1982); International Paper Co. v. United

 States, 282 U.S. 399, 408 (1931); cf. Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1004–

 05 (1984) (“[T]he deprivation of the former owner rather than the accretion of a right or

 interest to the sovereign constitutes the taking.”).

       Nor does it make any difference that owners of banned rifles and standard capacity

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 magazines are given the options of rendering them inoperable or permanently altering

 them to accept rounds or less. Act A2761 § 5(b). The law is clear that the government

 cannot escape its obligations under the Fifth Amendment by affording owners such

 alternatives.

       In Horne, for example, the raisin growers could have “plant[ed] different crops,”

 or “[sold] their raisin-variety grapes as table grapes or for use in juice or wine.” 135 S.

 Ct. at 2430. Likewise, in Loretto, the owner could have converted her building into

 something other than an apartment complex. See 458 U.S. at 439 n.17.

       The Supreme Court rejected arguments that these options changed the nature of

 the takings in those cases, admonishing that “property rights ‘cannot be so easily

 manipulated.’” Horne, 135 S. Ct. at 2430 (quoting Loretto, 458 U.S. at 439 n.17); see

 also Richmond Elks Hall Ass’n v. Richmond Redevelopment Agency, 561 F.2d 1327,1329

 (9th Cir. 1977) (finding a taking even where the owner was given an opportunity to keep

 its property by rehabilitating that property at its own expense and to the government’s

 satisfaction). If nothing else, the use of the threat of uncompensated confiscation to force

 property owners to alter their property is a classic unconstitutional condition. See Koontz

 v. St. Johns Water Mgmt. Dist., 570 U.S. 606–07 (2013).

       All of that readily distinguishes the Magazine Ban from restrictions on the use of

 personal property that have been upheld against takings challenges. For example, in

 Andrus v. Allard, 444 U.S. 51 (1979), the Supreme Court held that a ban on the sale of

 previously lawful eagle products was not a taking. But in doing so, it emphasized that it

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 was “crucial that [the owners] retain[ed] the rights to possess and transport their

 property.” Id. at 66. Likewise, in the Prohibition-era cases, the Supreme Court rejected

 takings challenges to restrictive liquor laws because the statutes restricted only the ability

 to sell lawfully acquired alcohol, not to continue to possess it. See James Everard’s

 Breweries v. Day, 265 U.S. 545, 560 (1924) (upholding statute “prohibiting traffic in

 intoxicating malt liquors for medicinal purposes”); Jacob Ruppert, Inc. v. Caffey, 251

 U.S. 264, 278–79 (1920) (upholding statute barring sales of liquor “for beverage

 purposes”). Here, by contrast, New Jersey leaves no option by which citizens may

 continue to possess their lawfully acquired property in the form that they acquired it.

 That is a taking.

       As another federal court recently held when confronted with a similar ban in

 California, “whatever expectations people may have regarding property regulations, they

 ‘do not expect their property, real or personal, to be actually occupied or taken away.’ ”

 Duncan, 265 F. Supp.3d at 1138 (quoting Horne, 135 S. Ct. at 2427); but see Rupp v.

 Becerra, 2018 WL 2138452, at *4 (C.D.D Cal. May 9, 2018) (dismissing a similar

 takings challenge). Thus, “whatever might be the State’s authority to ban the sale or use

 of magazines over 10 rounds, the Takings Clause prevents it from compelling the

 physical dispossession of such lawfully-acquired private property without just

 compensation.” Duncan, 265 F. Supp. at 1138.

       Although it takes private property, Act A2761 fails to fulfill New Jersey’s

 “categorical duty to compensate” the owners of the banned arms. Tahoe-Sierra, 535 U.S.

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 at 322. It makes no provision at all for government compensation. True, a property owner

 who chooses to transfer his arms to a third party may be able to obtain some compensation

 for those arms, but that is not what the Fifth Amendment requires. Instead, the

 Constitution requires “just compensation,” which is “to be measured by the market value

 of the property at the time of the taking.” Horne, 135 S. Ct. at 2432 (quotation marks

 omitted). Nothing in New Jersey’s ban even suggests, let alone ensures, that the

 compensation a magazine owner receives for the potential sale of her property to a third

 party will reflect its fair market value. In fact, by compelling transfer by a fixed date and

 prohibiting possession by nearly everyone in the state, the law practically ensures that the

 owner will receive less than fair market value. Precisely to avoid such a result, the

 Takings Clause prevents “government attempts to lay the general public’s burden of just

 compensation on third parties.” Carson Harbor Vill., Ltd. v. City of Carson, 353 F.3d

 824, 831 (9th Cir. 2004) (O’Scannlain, J., concurring).

       Act A2761 takes Plaintiffs’ standard-capacity magazines without securing just

 compensation. Plaintiffs are therefore entitle to summary judgment as to their claim that

 it violates the Takings Clause.




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                                    CONCLUSION

       In view of the foregoing, the Court should grant summary judgment declaring the

 challenged bans unconstitutional and permanently enjoining their enforcement.

 Dated: October 6, 2023
                                               Respectfully submitted,

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